                                                    Case 20-66432-pwb                         Doc 21   Filed 07/30/21 Entered 07/30/21 17:26:09                                       Desc
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                                                                        Individual Estate Property Record and Report
                                                                                         Asset Cases
Case No.:      20-66432-PWB                                                                                                                         Trustee Name:        (300320) S. Gregory Hays
Case Name:        GOSWAMI, DIVYANG                                                                                                                  Date Filed (f) or Converted (c): 05/17/2020 (f)
                                                                                                                                                    § 341(a) Meeting Date:       06/22/2020
For Period Ending:         06/30/2021                                                                                                               Claims Bar Date: 11/30/2020

                                                         1                                                  2                              3                            4                      5                          6

                                                 Asset Description                                       Petition/                 Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                      (Scheduled And Unscheduled (u) Property)                         Unscheduled            (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                          Values                 Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                             and Other Costs)                                                             Remaining Assets

    1        2003 Toyota Sequoia, 310,000 miles                                                                   1,000.00                               0.00           OA                                 0.00                        FA
             Notice of Abandonment filed on 8/31/20, Dkt # 13.

    2        Household goods and furnishings                                                                      3,500.00                               0.00                                              0.00                        FA

    3        Electronics                                                                                             500.00                              0.00                                              0.00                        FA

    4        Clothes                                                                                                 300.00                              0.00                                              0.00                        FA

    5        Jewelry                                                                                                 500.00                              0.00                                              0.00                        FA

    6        Cash                                                                                                    100.00                              0.00                                              0.00                        FA

    7        Checking account: Ameris Bank                                                                           500.00                              0.00                                              0.00                        FA

    8        IRA: Ameris Bank                                                                                     6,500.00                               0.00                                              0.00                        FA

    9        Int. in Ins. policies: wife                                                                        250,000.00                               0.00                                              0.00                        FA
             Policy was scheduled at the death benefit value. There is no cash surrender
             value.

    10       Pre-petition Transfer of Assets (u)                                                                       1.00                              1.00                                              0.00                    1.00
             Complaint to be filed.

   10        Assets                   Totals       (Excluding unknown values)                               $262,901.00                                $1.00                                           $0.00                      $1.00



         Major Activities Affecting Case Closing:
                                            8/31/2020 - Trustee is investigating the transfer of assets pre-petition in what appears to be an effort to avoid creditors.

                                            6/30/2021 - Draft of complaint relating to the pre-petition transfer of assets being prepared.



         Initial Projected Date Of Final Report (TFR):                           12/31/2022                                    Current Projected Date Of Final Report (TFR):                       12/31/2022
                                    Case 20-66432-pwb   Doc 21   Filed 07/30/21 Entered 07/30/21 17:26:09                 Desc
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Case No.:    20-66432-PWB                                                                     Trustee Name:      (300320) S. Gregory Hays
Case Name:     GOSWAMI, DIVYANG                                                               Date Filed (f) or Converted (c): 05/17/2020 (f)
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For Period Ending:     06/30/2021                                                             Claims Bar Date: 11/30/2020


             07/30/2021                                                        /s/S. Gregory Hays

                Date                                                           S. Gregory Hays
